           Exhibit 13




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                                                               Plaintiff's Exhibit

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                                                                         UN00079506




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                                                              II]L'1!If.4I




• Time for a pop quiz
     Every strong organization has a mission statement (http://www.missionntatementscom/f0rtune500mlssionstatementshtml)
•    Ford: We are a global family with a proud heritage passionately committed to providing personal mobility for people around the world.
•    Harley Davidson: We fulfill dreams through the experience of motorcycling, by providing to motorcyclist an expanding line of motorcycles
     & branded products and services.
• Hershey: Undisputed Marketplace Leadership




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                                      What is the Mission Statement for the
                                   University of North Carolina at Chapel Hill?




Who can recite the Mission Statement for the
University of North Carolina at Chapel Hill?




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                                             Mission Statement Mad Libs!




                                           http:f/ceourl.com/ILOVEREADERTRAINlNG




*
    Who remembers Mad Libs?
*
    You have 2 minutes to fill in the blanks to this UNC Chapel Hill Mad Lib Mission Statement.




                                                                                                  UNC0079509




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                      What is the Mission Statement for the
                    University of North Carolina at Chapel Hill?




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                                   UNC Chapel Hill's Commitment to Diversity


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• http://www.unc.edu/ugradbulletin/pdf/2015-16.pdf

   narrowly-tailored-use-of-race-in-cotlege-admissions/

• UNC Chapel Hill vs. NC vs. US
• Hispanic: 7.7% vs. 9.0% vs. 17.4%
• American Indian: .6% vs. 1.6% vs. 1.2%
• Asian: 11.7% vs. 2.7% vs. 5.4%
• Black: 8.2% vs. 22.1% vs. 13.2%
   White: 63.7% vs. 64.1% vs. 62.1%
• http://quickfacts.census.gov/qfd/states/37000.html
• http://oi ra .unc.edu/facts-and-figures/student-data/enroll ment-a nd-student-characteristics/students-by-level-
   raceethnicity-a nd-ender-fa ll-2015-unduplicated/




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                                 UNC Chapel Hill's Commitment to Diversity




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• We also know that diversity goes beyond underrepresented student populations and race. First generation
   college, military/veterans LGBTQ populations and more.
• Only 27.3% of North Carolinians over 25 have a bachelors degree or higher and there are over 724,000 veterans in
  NC.

• http://www.unc.edu/ugradbulletin/pdf/2015-16.pdf
  http://quickfacts.census.gov/qfd/states/37000.html




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• We have some work to do!
• Reader training will help us be aware!
• Holistic review will help us select a outstanding and diverse class.




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• We have some work to do!
• Reader training will help us be aware!
• Holistic review will help us select a outstanding and diverse class.




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